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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.

 SUSAN M. JORDAN,

       Plaintiff,

 v.

 ALLIANCEONE RECEIVABLES MANAGEMENT, INC.,

      Defendant.
 _________________________________________/

                                   COMPLAINT
                                  JURY DEMAND

       1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. §1692 et seq. (“FDCPA”) and the Florida Consumer Collection Practices

 Act, Fla. Stat. §559.55 et seq. (“FCCPA”).

                          JURISDICTION AND VENUE

       2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and

 15 U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here

 and Defendant placed telephone calls into this District.

                                      PARTIES

       3.     Plaintiff, SUSAN M. JORDAN, is a natural person and citizen of the

 State of Florida, residing in Broward County, Florida.
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        4.    Defendant, ALLIANCEONE RECEIVABLES MANAGEMENT,

 INC., is a corporation and citizen of the State of Pennsylvania with its principal

 place of business at Suite 300, 4850 E Street Road, Trevose, PA 19053.

        5.    Defendant regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

        6.    Defendant regularly collects or attempts to collect debts for other

 parties.

        7.    Defendant is a “debt collector” as defined in the FDCPA.

        8.    Defendant was acting as a debt collector with respect to the collection

 of Plaintiff’s alleged debt.

                                FACTUAL ALLEGATIONS

        9.    Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for personal, family, or household purposes.

        10.   Defendant left the following message on the voicemail at her brother’s

 residence on or about the date stated:

        January 28, 2010 at 2:19pm
        Hello, this message is for Susan Jordon. If you are not Susan Jordan please
        contact us at 866-881-6005 so we can remove your number and please erase
        this message now. Susan Jordan, you should not play this message if other
        people can hear it as it contains personal and private information. There will
        now be a 3 second pause to allowing you to play this message in private.
        This is AllianceOne Receivable Management, Inc. a debt collection
        company. This is an attempt to collect a debt. Any information obtained will
        be used for that purpose. This message is in regards to your outstanding
        balance with (inaudible) has asked us , AllianceOne Receivable

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       Management, Inc. to assist you in finding a resolution to the balance you
       owe. We realize you have been experience financial hardship and we would
       like to help. This maybe your best opportunities to take care of the balance
       you owe. You are currently eligible to save a substantial sum of money on
       the debt you owe. To find out how much you are eligible to save, Please call
       us back at 866-881-6005. The number again is 866-881-6005. If you would
       like to take advantage of this offer or need special payment arrangements,
       please call us back at 866-881-6005, So we can help you resolve this debt ,
       untimely our goal is to help find the best possible solution to prevent any
       further collection activity, Thank you,

       February 1, 2010 at 2:25 pm
       This message is for Susan Jordon.

       February 5, 2010
       Susan Jordon. If you are not Susan Jordan please hang up or delete this
       message now, by continuing to listen to this message you acknowledge you
       are Susan Jordan, Susan Jordan, you should not play this message if other
       people can hear it as it contains personal and private information. There will
       now be a 3 second pause to allowing you to play this message in private.
       This is AllianceOne Receivable Management, Inc. a debt collection
       company. This is an attempt to collect a debt. Any information obtained will
       be used for that purpose. Please call us back at 866-881-6005, thank you

       February 9, 2010 at 12:11pm - Pre-recorded Caller.
       This is a message for Susan Jordon. If you are not Susan Jordan please hang
       up or delete this message now, by continuing to listen to this message you
       acknowledge you are Susan Jordan, Susan Jordan, you should not play this
       message if other people can hear it as it contains personal and private
       information. There will now be a 3 second pause to allowing you to play this
       message in private. This is AllianceOne Receivable Management, Inc. a debt
       collection company. This is an attempt to collect a debt. Any information
       obtained will be used for that purpose. Please call us back at 866-881-6005,
       thank you


       11.   Defendant left similar or identical messages on other occasions.

 (Collectively, “the telephone messages”).



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       12.     The messages are “communications” as defined by 15 U.S.C.

 §1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

 Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).

       13.     Defendant failed to inform Plaintiff in some of the messages that the

 communication was from a debt collector and failed to disclose the purpose of

 Defendant’s messages and failed to disclose Defendant’s name.

       14.     Defendant knew it was required to disclose its name, that it is a debt

 collector and the purpose of its communication in telephone messages to Plaintiff.

       15.     Plaintiff’s adult brother (“third party”) heard the messages.

       16.     Plaintiff did not authorize Defendant to communicate with her

 brother.

       17.     No court authorized Defendant to communicate with her brother.

       18.     Plaintiff’s brother had no legitimate business need for the information

 communicated in the telephone messages.

       19.     Defendant knew or had reason to know that the Plaintiff’s brother had

 no legitimate business need for the information communicated in the telephone

 messages.

       20.     The messages communicate information affecting Plaintiff’s

 reputation.




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       21.    Defendant knew or had reason to know that persons other than

 Plaintiff may hear its telephone messages left at her brother’s residence.

       22.    Plaintiff’s brother has no contractual or legal obligation to not listen to

 messages left on his voicemail at his residence.

                            COUNT I
         FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR

       23.    Plaintiff incorporates Paragraphs 1 through 22.

       24.    Defendant failed to disclose in the telephone messages that it is a debt

 collector in violation of 15 U.S.C. §1692e(11). See Foti v. NCO Fin. Sys., 424 F.

 Supp. 2d 643, 646 (D.N.Y. 2006) and Belin v. Litton Loan Servicing, 2006 U.S.

 Dist. LEXIS 47953 (M. D. Fla. 2006) and Leyse v. Corporate Collection Servs.,

 2006 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit; and

              c.    Such other or further relief as the Court deems proper.

                         COUNT II
     FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

       25.    Plaintiff incorporates Paragraphs 1 through 22.




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       26.    Defendant placed telephone calls to Plaintiff without making

 meaningful disclosure of its identity when it failed to disclose its name and the

 purpose of Defendant’s communication in the telephone messages in violation of

 15 U.S.C §1692d(6). See Valencia v The Affiliated Group, Inc., Case No. 07-

 61381-Civ-Marra/Johnson, 2008 U. S. Dist. LEXIS 73008, (S.D.Fla., September

 23, 2008); Wright v. Credit Bureau of Georgia, Inc., 548 F. Supp. 591, 593 (D. Ga.

 1982); and Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp. 2d 1104 (D. Cal. 2005).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit; and

              c.    Such other or further relief as the Court deems proper.

                         COUNT III
     UNAUTHORIZED COMMUNICATION WITH A THIRD-PARTY IN
                  VIOLATION OF THE FDCPA

       27.    Plaintiff incorporates Paragraphs 1 through 22.

       28.    Defendant communicated with a third-party, Plaintiff’s brother, in

 connection with the collection of the alleged debt in violation of 15 U.S.C.

 §1692c(b).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:



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              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit; and

              c.    Such other or further relief as the Court deems proper.

                         COUNT IV
     UNAUTHORIZED COMMUNICATION WITH A THIRD-PARTY IN
                  VIOLATION OF THE FCCPA

       29.    Plaintiff incorporates Paragraphs 1 through 22.

       30.    Defendant communicated information affecting Plaintiff’s reputation

 to a third-party, Plaintiff’s brother, who had no legitimate business need for the

 information in violation of Fla. Stat. §559.72(5).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    Damages;

              b.    Attorney’s fees, litigation expenses and costs of suit; and

              c.    Such other or further relief as the Court deems proper.

                         COUNT V
        DECLARATORY RELIEF AND PERMANENT INJUNCTION

       31.    Plaintiff incorporates Paragraphs 1 through 21.

       32.    Pursuant to 28 U.S.C §§2201 and 2202, Plaintiff seeks a declaration

 that Defendant’s practices are in violation of the FCCPA.




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       33.      The FCCPA provides for equitable relief including injunctive relief.

 Berg v. Merchs. Ass'n Collection Div., 586 F. Supp. 2d 1336, 1345, (S.D. Fla.

 2008).

       34.      Plaintiff seeks a permanent injunction prohibiting Defendant from

 engaging in debt collection practices violative of the FCCPA.

       WHEREFORE, Plaintiff requests that the Court enter judgment:

                a.    declaring that Defendant’s practices violate the FCCPA;

                b.    permanently injoining Defendant from engaging in the violative

                practices; and

                c.    Such other or further relief as the Court deems proper.



                                        JURY DEMAND

          Plaintiff demands trial by jury.

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